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      6
        Attorneys for Defendants
      7 Mazda Motor of America, Inc.
        d/b/a Mazda North American Operations
      8 and Mazda Motor Corporation
      9
                               UNITED STATES DISTRICT COURT
    10
                             CENTRAL DISTRICT OF CALIFORNIA
    11
       TERRY SONNEVELDT et al., on                        Case No. 8:19-cv-01298-JLS-KES
    12 behalf of themselves and all others
       similarly situated,                                JOINT STIPULATION FOR
    13                                                    ORDER EXTENDING
                                Plaintiffs,
    14                                                    REMAINING DATES IN
             vs.                                          SCHEDULING ORDER BY TWO
    15                                                    WEEKS, INCLUDING JULY 26,
       MAZDA MOTOR OF AMERICA,
    16 INC. d/b/a MAZDA NORTH                             2022 DEADLINE FOR
       AMERICAN OPERATIONS et al.,                        DISPOSITIVE MOTIONS AND
    17                                                    INITIAL MERITS EXPERT
                                Defendants.
    18                                                    REPORTS
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           JOINT STIPULATION FOR ORDER EXTENDING REMAINING DEADLINES IN SCHEDULING ORDER BY TWO WEEKS
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      1         Defendants Mazda Motor of America, Inc. (“MNAO”) and Mazda Motor
      2 Corporation (“MC”) (collectively, “Defendants” or “Mazda”), with the consent of
      3 Plaintiffs Terry Sonneveldt, Esther Wright Schneider, Brian Hume, Jean Levasseur,
      4 Christopher Lacasse, Beth Pickerd, Dan Pickerd, Tim Halwas, Erin Matheny, Lewis
      5 Delvecchio, Jon Sowards, Lawrence Bohana, Monika Bohana, David Dennis, and
      6 Jaqueline S. Aslan (“Plaintiffs”), through their counsel, respectfully submit the
      7 following Joint Stipulation for an Order Extending All Remaining Dates in the
      8 Scheduling Order By Two Weeks.
      9         This Stipulation is made with reference to the following facts:
    10          1.      Pursuant to the Court’s November 18, 2021 Order (Dkt. No. 294), the
    11 following deadlines and schedule apply in this action:
    12     Last Day to File Dispositive Motions                                July 26, 2022
    13     (Excluding Daubert Motions and all other Motions in
    14     Limine):
    15     Last Day to Serve Initial Merits Expert Reports:                    July 26, 2022
    16     Last Day to Serve Rebuttal Merits Expert Reports:                   Aug. 26, 2022
    17
           Last Day to Conduct Settlement Proceedings:                         Sept. 15, 2022
    18
           Expert Discovery Cutoff:                                            Sept. 22, 2022
    19
    20     Last Day to File Daubert Motions:                                   Sept. 29, 2022

    21     * This deadline does not preclude the parties from filing
           Daubert motions earlier.
    22
           Last Day to File Other Motions in Limine (other than                Oct. 21, 2022
    23     Daubert Motions)
    24
           Final Pretrial Conference (10:30 a.m.):                             Nov. 18, 2022
    25
    26
                2.      On July 21, 2022, one of Defendants’ counsel, who is one of two
    27
          attorneys for Defendants with significant responsibilities in the case, including with
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      1 respect to the drafting of the motion for summary judgment coming due on Tuesday,
      2 July 26, 2022, first tested positive for COVID. At this time, the symptoms are
      3 sufficiently severe requiring significant rest and the symptoms have impacted
      4 counsel’s ability to competently complete the necessary work to finalize the motion
      5 for summary judgment and the necessary supplemental documents (e.g., the
      6 statement of uncontroverted facts, compendium of exhibits, and sealing
      7 declarations) by Tuesday, July 26, 2022. In light of these concerns, Defendants’
      8 counsel reached out to Plaintiffs’ counsel on July 21, 2022 to request that Plaintiffs
      9 agree to extend the dispositive motion deadline and the deadline to serve initial
    10 experts report by two weeks.              Plaintiffs agreed to the requested extension.
    11 Defendants represent that an extension of two weeks of the dispositive motion
    12 deadline is likely sufficient for counsel to fully recover and finalize Defendants’
    13 motion for summary judgment and related documents for filing. Because extending
    14 the dispositive deadline will impact the remaining dates in the scheduling order, the
    15 Parties respectfully request the remaining deadlines also be extended by two weeks.
    16         3.      The scheduling order has been extended several times in this action.
    17 The initial scheduling order was entered on April 8, 2020. Dkt. No. 71. Since then,
    18 the Court has extended the case schedule as follows:
    19          On 9/8/2020, the Court extended the deadlines pertaining to Plaintiffs’
    20              motion for class certification by approximately six months. Dkt. No. 152.
    21          On 3/22/2021, the Court entered an order extending the case schedule by
    22              approximately four months. Dkt. No. 218.
    23          On 9/16/2021, the Court entered an order further extending the case
    24              schedule by approximately three months. Dkt. No. 279.
    25          On 11/18/2021, the Court entered an order further extending the case
    26              schedule by approximately two months. Dkt. No. 294.
    27          On 6/21/2022, the Court extended the fact discovery cutoff deadline by
    28              three days (i.e., from July 12, 2022 to July 15, 2022). Dkt. No. 369.

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      1         On 7/11/2022, the Court extended the fact discovery cutoff date to August
      2            12, 2022, solely with respect to the depositions of MC employees,
      3            Katsunobu Miyagoshi and Kosaku Tanaka. Dkt. No. 384.
      4        NOW, THEREFORE, counsel for the Parties respectfully request that the
      5 Court enter an order setting the following deadlines:
      6   Last Day to File Dispositive Motions                                Aug. 9, 2022
      7   (Excluding Daubert Motions and all other Motions in
      8   Limine):
      9   Last Day to Serve Initial Merits Expert Reports:                    Aug. 9, 2022
    10    Last Day to Serve Rebuttal Merits Expert Reports:                   Sept. 9, 2022
    11
          Last Day to Conduct Settlement Proceedings:                         Sept. 29, 2022
    12
          Expert Discovery Cutoff:                                            Oct. 6, 2022
    13
    14    Last Day to File Daubert Motions:                                   Oct. 13, 2022

    15    * This deadline does not preclude the parties from filing
          Daubert motions earlier.
    16
          Last Day to File Other Motions in Limine (other than                Nov. 4, 2022
    17    Daubert Motions)
    18
          Final Pretrial Conference (10:30 a.m.):                             Dec. 2, 2022
    19
    20
    21    Dated: July 22, 2022                              Respectfully submitted,
    22                                                      SHOOK, HARDY & BACON L.L.P.
    23
    24                                                      By: /s/ Michael L. Mallow
    25
                                                             Michael L. Mallow
    26                                                       Attorneys for Defendants
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            JOINT STIPULATION FOR ORDER EXTENDING REMAINING DEADLINES IN SCHEDULING ORDER BY TWO WEEKS
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      1                                                     Mazda Motor of America, Inc. d/b/a
                                                            Mazda North American Operations
      2
                                                            and Mazda Motor Corporation
      3
          Dated: July 22, 2022                             Respectfully submitted,
      4
      5                                                    KESSLER TOPAZ
                                                            MELTZER & CHECK, LLP
      6
      7
                                                           By: /s/ Melissa L. Troutner
      8                                                        Joseph H. Meltzer
      9                                                        Melissa L. Troutner
                                                               Tyler S. Graden
    10                                                         Jordan E. Jacobson
    11
                                                                KIESEL LAW LLP
    12                                                          Paul R. Kiesel
    13                                                          Jeffrey A Koncius
                                                                Cherisse H. Cleofe
    14
    15                                                          ROBBINS GELLER
                                                                 RUDMAN & DOWD LLP
    16                                                          Robert M. Rothman
    17                                                          Philip Merenda
    18                                                          THE MILLER LAW FIRM,
    19                                                          P.C.
                                                                E. Powell Miller
    20                                                          Sharon S. Almonrode
    21
                                                                KEIL & GOODSON P.A.
    22                                                          John C. Goodson
    23                                                          Matt Keil
    24
                                                                THE EDWARDS FIRM,
    25                                                          P.L.L.C.
                                                                Robert H. Edwards
    26
    27                                                     Attorneys for Plaintiffs
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      1                                       ATTESTATION
      2           Pursuant to Local Rule 5-4.3.4, the signatories listed above, and on whose
      3 behalf the filing is submitted, concur in the filing’s content and have authorized the
      4 filing.
      5                                              /s/ Michael L. Mallow
                                                     Michael L. Mallow
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